                             UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF NEW YORK


 In re:                                                   Chapter 11

 THE DIOCESE OF BUFFALO, N.Y.,                            Case No. 20-10322 (CLB)

                    Debtor.


                                 CERTIFICATE OF SERVICE

  STATE OF NEW YORK                     )
                                        )
  COUNTY OF NEW YORK                    )


          I, La Asia S. Canty, am over the age of eighteen years, am employed by Pachulski Stang

Ziehl & Jones LLP. I am not a party to the within action; my business address is 780 Third

Avenue, 34th Floor, New York, New York 10017-2024.

          Pursuant to the Court’s Amended Administrative Procedures, on April 25, 2022, the

Third Interim Fee Application of Pachulski Stang Ziehl & Jones LLP for Compensation for

Services Rendered and Reimbursement of Expenses Incurred as Counsel to the Official

Committee of Unsecured Creditors of the Debtor for the Period June 1, 2021 through January

31, 2022 was served via the Court’s ECF system, via electronic mail upon the parties set forth on

the service list annexed hereto as Exhibit 1, and via First Class US Mail upon the parties set

forth on the service list annexed hereto as Exhibit 2.


                                                     /s/ La Asia S. Canty
                                                     La Asia S. Canty




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                                             EXHIBIT 1

    Service by E-Mail

            NAME                        NOTICE NAME                           EMAIL
AB 1 DOE                         ATTN: STEPHEN BOYD, ESQ.       SBOYD@STEVEBOYD.COM
CATHOLIC CHARITIES OF            ATTN: RAYMOND L. FINK &        RFINK@LIPPES.COM;
BUFFALO, N.Y.                    JOHN A. MUELLER                JMUELLER@LIPPES.COM
                                 ATTN: ROBERT J. FELDMAN &      RFELDMAN@GROSS-SHUMAN.COM;
CATHOLIC MUTUAL GROUP            KEVIN R. LELONEK               KLELONEK@GROSS-SHUMAN.COM
                                                                JYAN@SCHIFFHARDIN.COM;
                                 ATTN: JIN YAN, DAVID M.        DSPECTOR@SCHIFFHARDIN.COM;
                                 SPECTOR, JOSEPH MARK           MFISHER@SCHIFFHARDIN.COM;
CATHOLIC MUTUAL RELIEF           FISHER, EVERETT CYGAL &        ECYGAL@SCHIFFHARDIN.COM;
SOCIETY OF AMERICA               DANIEL SCHUFREIDER             DSCHUFREIDER@SCHIFFHARDIN.COM
CATHOLIC MUTUAL RELIEF
SOCIETY OF AMERICA               ATTN: STEVE WILAMOWSKY         SWILAMOWSKY@SCHIFFHARDIN.COM
                                 JEFFREY R. ANDERSON
                                 STACEY BENSON
CERTAIN PERSONAL INJURY          C/O JEFF ANDERSON &            JEFF@ANDERSONADVOCATES.COM
CREDITORS                        ASSOCIATES, P.A.               STACEY@ANDERSONADVOCATES.COM
                                 KATHLEEN R. THOMAS, ESQ.
CERTAIN PERSONAL INJURY          C/O THOMAS COUNSELOR AT
CREDITORS                        LAW, LLC                       KAT@TLCLAWLLC.COM
CLYDE & CO US LLP                MARIANNE MAY                   MARIANNE.MAY@CLYDECO.US
                                 STEPHEN A. DONATO,
                                 CHARLES J. SULLIVAN, SARA C.   SDONATO@BSK.COM
                                 TEMES, GRAYSON T. WALTER       CSULLIVAN@BSK.COM
                                 BOND, SCHOENECK & KING,        STEMES@BSK.COM
DIOCESE OF BUFFALO, N.Y.         PLLC                           GWALTER@BSK.COM
EMPLOYERS INSURANCE
COMPANY OF WAUSAU
(FORMERLY KNOWN AS
EMPLOYERS INSURANCE OF
WAUSAU A MUTUAL
COMPANY FORMERLY KNOWN
AS EMPLOYERS MUTUAL
LIABILITY INSURANCE
COMPANY OF WISCONSIN)
AND WAUSAU UNDERWRITERS          ATTN: JEFFREY L. KINGSLEY &    JKINGSLEY@GOLDBERGSEGALLA.COM;
INSURANCE COMPANY                JONATHAN SCHAPP                JSCHAPP@GOLDBERGSEGALLA.COM
                                 DOMINIC J. PICCA, NANCY D.
                                 ADAMS, LAURA BANGE
                                 STEPHENS, GRADY R. CAMPION     DJPICCA@MINTZ.COM;
                                 C/O MINTZ, LEVIN, COHN,        NDADAMS@MINTZ.COM;
EXCELSIOR INSURANCE              FERRIS, GLOVSKY AND POPEO,     LBSTEPHENS@MINTZ.COM;
COMPANY                          P.C.                           GRCAMPION@MINTZ.COM
                                 DOUGLAS R. GOODING, ESQ.
                                 JONATHAN D. MARSHALL, ESQ.
EXCELSIOR INSURANCE              C/O CHOATE, HALL &             DGOODING@CHOATE.COM;
COMPANY                          STEWART LLP                    JMARSHALL@CHOATE.COM




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           NAME                     NOTICE NAME                         EMAIL
FRANCISCAN FRIARS - OUR
LADY OF ANGELS PROVINCE,     ATTN: RAYMOND L. FINK &      RFINK@LIPPES.COM;
INC.                         JOHN A. MUELLER              JMUELLER@LIPPES.COM
JUDITH WILCOX HALSEY AND
DIANA L. O’HARA              CONRAD K. CHIU, ESQ.         CCHIU@PRYORCASHMAN.COM
                             DOMINIC J. PICCA, NANCY D.
                             ADAMS, LAURA BANGE
                             STEPHENS, GRADY R. CAMPION   DJPICCA@MINTZ.COM;
                             C/O MINTZ, LEVIN, COHN,      NDADAMS@MINTZ.COM;
LIBERTY MUTUAL INSURANCE     FERRIS, GLOVSKY AND POPEO,   LBSTEPHENS@MINTZ.COM;
COMPANY                      P.C.                         GRCAMPION@MINTZ.COM
                             DOUGLAS R. GOODING, ESQ.
                             JONATHAN D. MARSHALL, ESQ.
LIBERTY MUTUAL INSURANCE     C/O CHOATE, HALL &           DGOODING@CHOATE.COM;
COMPANY                      STEWART LLP                  JMARSHALL@CHOATE.COM
                             CHIACCHIA & FLEMING, LLP
                             ATTN: DANIEL J. CHIACCHIA,
MADONNA BISHOP               ESQ.                         DAN@CF-LEGAL.COM
MANUFACTURERS AND
TRADERS TRUST CO             ATTN: GARRY M. GRABER        GGRABER@HODGSONRUSS.COM
NATIONAL UNION FIRE
INSURANCE COMPANY OF
PITTSBURGH, PA               ATTN: JEFFREY A. DOVE        JDOVE@BARCLAYDAMON.COM
                             DANIEL W. GERBER             DGERBER@GERBERCIANO.COM
NGM INSURANCE COMPANY        JOHN R. EWELL                JEWELL@GERBERCIANO.COM
OBLATES OF ST. FRANCIS       ATTN: RAYMOND L. FINK &      RFINK@LIPPES.COM;
DESALES                      JOHN A. MUELLER              JMUELLER@LIPPES.COM
OUR LADY OF VICTORY
INSTITUTIONS, INC.           NEIL J. SMITH                NSMITH@MACKENZIEHUGHES.COM
                                                          BRUCEA@EAIDAHO.COM;
PARISH STEERING COMMITTEE    ATTN: BRUCE A. ANDERSON      BAAFILING@EAIDAHO.COM
PARISH STEERING COMMITTEE    ATTN: J. FORD ELSAESSER      FELSAESSER@EAIDAHO.COM
PARISH STEERING COMMITTEE    ATTN: TIMOTHY P. LYSTER      TLYSTER@WOODSOVIATT.COM
                             DOMINIC J. PICCA, NANCY D.
                             ADAMS, LAURA BANGE
                             STEPHENS, GRADY R. CAMPION   DJPICCA@MINTZ.COM;
                             C/O MINTZ, LEVIN, COHN,      NDADAMS@MINTZ.COM;
PEERLESS INSURANCE           FERRIS, GLOVSKY AND POPEO,   LBSTEPHENS@MINTZ.COM;
COMPANY                      P.C.                         GRCAMPION@MINTZ.COM
                             DOUGLAS R. GOODING, ESQ.
                             JONATHAN D. MARSHALL, ESQ.
PEERLESS INSURANCE           C/O CHOATE, HALL &           DGOODING@CHOATE.COM;
COMPANY                      STEWART LLP                  JMARSHALL@CHOATE.COM
PEOPLE OF THE STATE OF NEW   OFFICE OF THE NEW YORK
YORK                         STATE ATTORNEY GENERAL       LOUIS.TESTA@AG.NY.GOV
PSAS 01 DOE, PSAS 02 DOE,
PSAS DOE 03                  ATTN: STEPHEN F. PUSATIER    SFP@PSASATTORNEYS.COM
RICHARD LAPORTA AND
HUNTER COGI WOLFE F/K/A      ATTN: HEATHER M.
KENNETH CHARLES HELINSKI     BAUMEISTER, ESQ.             HBAUMEISTER@LOTEMPIOPC.COM
SELECTIVE INSURANCE
COMPANY OF NEW YORK          ATTN: BRETT S. THEISEN       BTHEISEN@GIBBONSLAW.COM



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           NAME                     NOTICE NAME                         EMAIL
SELECTIVE INSURANCE
COMPANY OF NEW YORK          ATTN: DIRK C. HAARHOFF       DCHAARHOFF@KSLNLAW.COM
SELECTIVE INSURANCE          ATTN: JUDITH TREGER          JTSHELTON@KSLNLAW.COM;
COMPANY OF NEW YORK          SHELTON & DIRK C. HAARHOFF   DCHAARHOFF@KSLNLAW.COM
SELECTIVE INSURANCE
COMPANY OF NEW YORK          ATTN: ROBERT K. MALONE       RMALONE@GIBBONSLAW.COM
SELECTIVE INSURANCE          ATTN: WILLIAM T. CORBETT,    WCORBETT@COUGHLINDUFFY.COM;
COMPANY OF NEW YORK          JR. & LAURA A. BRADY         LBRADY@COUGHLINDUFFY.COM
ST. FRANCIS HIGH SCHOOL OF   ATTN: RAYMOND L. FINK &      RFINK@LIPPES.COM;
ATHOL SPRINGS, N.Y.          JOHN A. MUELLER              JMUELLER@LIPPES.COM
THE CONTINENTAL
INSURANCE COMPANY,
SUCCESSOR BY MERGER TO (1)
COMMERCIAL INSURANCE
COMPANY OF NEWARK, NEW
JERSEY AND (2) FIREMEN'S
INSURANCE COMPANY OF
NEWARK, NEW JERSEY           ATTN: JEFFREY A. DOVE        JDOVE@BARCLAYDAMON.COM
THE CONTINENTAL
INSURANCE COMPANY,
SUCCESSOR BY MERGER TO (1)
COMMERCIAL INSURANCE
COMPANY OF NEWARK, NEW
JERSEY AND (2) FIREMEN'S
INSURANCE COMPANY OF         JAMES P. RUGGERI             JRUGGERI@GOODWIN.COM;
NEWARK, NEW JERSEY           ANNETTE P. ROLAIN            AROLAIN@GOODWIN.COM
THE EUDISTS -
CONGREGATION OF JESUS AND    ATTN: RAYMOND L. FINK &      RFINK@LIPPES.COM;
MARY, INC.                   JOHN A. MUELLER              JMUELLER@LIPPES.COM
TIG INSURANCE COMPANY,
NORTH RIVER INSURANCE
COMPANY, AND U.S. FIRE       JILLIAN DENNEHY, ESQ         JILLIAN.DENNEHY@KENNEDYSLAW.COM
INSURANCE COMPANY            MARGARET CATALANO, ESQ.      MEG.CATALANO@KENNEDYSLAW.COM
USA NORTHEAST PROVINCE OF                                 LWOODARD@HARRISBEACH.COM;
THE SOCIETY OF JESUS         ATTN: LEE E. WOODARD         BKEMAIL@HARRISBEACH.COM
UTICA MUTUAL INSURANCE
COMPANY, HANOVER
INSURANCE COMPANY, AND
SENTRY INSURANCE
COMPANY AS SUCCESSOR TO      ATTN: STUART I. GORDON,
MIDDLESEX MUTUAL             ESQ.; PAUL GORFINKEL, ESQ.   STUART.GORDON@RIVKIN.COM;
INSURANCE COMPANY            C/O RIVKIN RADLER LLP        PAUL.GORFINKEL@RIVKIN.COM




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                 Service by First Class U.S. Mail


                                                                                                    ADDRESS
NAME                           ADDRESS LINE 1               ADDRESS LINE 2      ADDRESS LINE 3      LINE 4      CITY         ST   ZIP
ARCHBISHOP WALSH HIGH
SCHOOL AND ARCHBISHOP          C/O MORGAN &                 ATTN.: MICHAEL A.   201 NORTH UNION
WALSH FOUNDATION               ASSOCIATES, PLLC             MORGAN, ESQ.        STREET, SUITE 410               OLEAN        NY   14760


BANK OF AMERICA                ATTN: MICHAEL LARRY          10 FOUNTAIN PLAZA                                   BUFFALO      NY   14202


CITIZENS BANK                  ONE CITIZENS PLAZA                                                               PROVIDENCE   RI   02903
CONTINENTAL INSURANCE
COMPANY AND NATIONAL                                                                                125 EAST
UNION FIRE INSURANCE                                        ATTN: JEFFREY A.    BARCLAY DAMON       JEFFERSON
COMPANY OF PITTSBURGH          C/O BARCLAY DAMON, LLP       DOVE                TOWER               STREET      SYRACUSE     NY   13202
                                                                                THE DUN
                                                            ATTN: FRANCIS M.    BUILDING, 10TH      110 PEARL
CVA CLAIMANTS                  C/O FRANCIS LETRO LAW        LETRO               FLOOR               STREET      BUFFALO      NY   14202
                                                                                69 DELAWARE
                               C/O CAMPBELL &               ATTN: JASON M.      AVENUE, SUITE
CVA CLAIMANTS                  ASSOCIATES                   TELAAK              1010                            BUFFALO      NY   14202

                               C/O PHILLIPS & PAOLICELLI,   ATTN: DIANE M.      747 3RD AVENUE,
CVA CLAIMANTS                  LLP                          PAOLICELLI          6TH FLOOR                       NEW YORK     NY   10017

                                                            ATTN: JOHN E.       11 STATE STREET,
CVA CLAIMANTS                  C/O BERNACKI LAW             BERNACKI, JR.       SUITE #200                      PITTSFORD    NY   14534




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                                                                                                  ADDRESS
NAME                           ADDRESS LINE 1             ADDRESS LINE 2        ADDRESS LINE 3    LINE 4    CITY            ST   ZIP
                                                          ATTN: AMY C.
                               C/O LIPSITZ, GREEN SCIME   KELLER & BARRY N.     42 DELAWARE
CVA CLAIMANTS                  CAMBRIA LLP                COVERT                AVENUE                      BUFFALO         NY   14202
                               C/O LAW OFFICES OF         ATTN: STEPHEN
                               STEVEN BOYD AND JOHN       BOYD AND LEAH A.      40 NORTH FOREST
CVA CLAIMANTS                  ELMORE                     COSTANZO              ROAD                        BUFFALO         NY   14221
                                                                                69 DELAWARE
                               C/O THE HIGGINS KANE       ATTN: TERRENCE P.     AVENUE, SUITE
CVA CLAIMANTS                  LAW GROUP, P.C.            HIGGINS               100                         BUFFALO         NY   14202

                               C/O SLATER SLATER          488 MADISON
CVA CLAIMANTS                  SCHULMAN LLP               AVENUE, 20TH FLOOR                                NEW YORK        NY   10022

                                                          ATTN: MICHELE M.      30 WALL STREET,
CVA CLAIMANTS                  C/O BETTI & ASSOCIATES     BETTI                 8TH FLOOR                   NEW YORK        NY   10005

                               C/O ANDREWS, BERNSTEIN,    ATTN: ROBERT J.       420 FRANKLIN
CVA CLAIMANTS                  MARANTO, NICOTRA, PLLC     MARANTO, JR.          STREET                      BUFFALO         NY   14202

                               C/O LAW OFFICE OF KEVIN    ATTN: KEVIN T.        2645 SHERIDAN
CVA CLAIMANTS                  T. STOCKER, ESQ, P.C.      STOCKER               DRIVE                       TONAWANDA       NY   14150
                                                                                122 DEERHURST
                                                                                PARK
CVA CLAIMANTS                  C/O STEVEN FOX, P.C.       ATTN: STEVEN S. FOX   BOULEVARD                   BUFFALO         NY   14217

                                                          5500 MAIN STREET,
CVA CLAIMANTS                  ATTN: JOHN J. FLAHERTY     SUITE 100                                         WILLIAMSVILLE   NY   14221

                               C/O VANDETTE PENBERTHY     ATTN: JAMES M.        227 NIAGARA
CVA CLAIMANTS                  LLP                        VANDETTE              STREET                      BUFFALO         NY   14201

                                                                       2
       DOCS_DE:238894.1 18502/001
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                                                                                                     ADDRESS
NAME                           ADDRESS LINE 1               ADDRESS LINE 2       ADDRESS LINE 3      LINE 4       CITY            ST   ZIP


                                                            ATTN: JAMES R.       151 EAST POST
CVA CLAIMANTS                  C/O MARSH LAW FIRM PLLC      MARSH                ROAD, SUITE 102                  WHITE PLAINS    NY   10601
                                                                                 112 MADISON
                               C/O SIMMONS HANLY            ATTN: PAUL J.        AVENUE, 7TH
CVA CLAIMANTS                  CONROY LLC                   HANLY, JR.           FLOOR                            NEW YORK        NY   10016
                                                                                 150 EAST 58TH
                                                            ATTN: JORDAN K.      STREET, FLOOR
CVA CLAIMANTS                  C/O MERSON LAW, PLLC         MERSON               #34                              NEW YORK        NY   10155

                               C/O WEITZ & LUXENBERG,       ATTN: SAMANTHA A.
CVA CLAIMANTS                  P.C.                         BREAKSTONE           700 BROADWAY                     NEW YORK        NY   10003

                               C/O LAW OFFICES OF ERIC B.   ATTN: ERIC B.        5820 MAIN
CVA CLAIMANTS                  GROSSMAN                     GROSSMAN             STREET, SUITE 306                WILLIAMSVILLE   NY   14221

                                                            ATTN: STEWART S.     1800 N MILITARY                                       33431-
CVA CLAIMANTS                  C/O HERMAN LAW FIRM, P.A.    MERMELSTEIN          TRL                 STE 160      BOCA RATON      FL   6386

                                                                                 2303 PINE                        NIAGARA
CVA CLAIMANTS                  C/O FANIZZI & BARR, P.C.     ATTN: PAUL K. BARR   AVENUE                           FALLS           NY   14301
                               C/O PUSATIER, SHERMAN,
                               ABBOTT AND SUGARMAN,         ATTN: STEPHEN F.     2464 ELMWOOD
CVA CLAIMANTS                  LLP                          PUSATIER             AVENUE                           BUFFALO         NY   14212

                               C/O LOTEMPIO P.C. LAW        ATTN: BRIAN D.       181 FRANKLIN
CVA CLAIMANTS                  GROUP                        KNAUTH               STREET                           BUFFALO         NY   14202
                                                                                 110 EAST
                                                            ATTN: ADAM D.        BROWARD                          FORT
CVA CLAIMANTS                  C/O HOROWITZ LAW             HOROWITZ             BOULEVARD           SUITE 1850   LAUDERDALE      FL   33301

                                                                            3
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                                                                                                   ADDRESS
NAME                           ADDRESS LINE 1              ADDRESS LINE 2      ADDRESS LINE 3      LINE 4       CITY            ST   ZIP
                                                                               101 SOUTH
                                                           ATTN: MARTIN A.     SALINA STREET,
CVA CLAIMANTS                  C/O LYNN LAW FIRM, LLP      LYNN                SUITE 750                        SYRACUSE        NY   13202
                                                                                                   350 MAIN
                                                           ATTN: MICHAEL P.    MAIN PLACE          STREET,
CVA CLAIMANTS                  C/O BOUVIER LAW LLP         CAFFERY             TOWER               SUITE 1800   BUFFALO         NY   14202

                                                           ATTN: SARAH A.      4467 S. BUFFALO
CVA CLAIMANTS                  C/O FREDERICK LAW OFFICE    FREDERICK           STREET                           ORCHARD PARK    NY   14127

                               C/O SCHRODER, JOSEPH &      ATTN: LINDA H.      392 PEARL
CVA CLAIMANTS                  ASSOCIATES, LLP             JOSEPH              STREET, SUITE 301                BUFFALO         NY   14202
                                                                               100 STATE
                               C/O LAW OFFICES OF          ATTN: MITCHELL      STREET, 6TH
CVA CLAIMANTS                  MITCHELL GARABEDIAN         GARABEDIAN          FLOOR                            BOSTON          MA   02109

                               C/O JANET, JANET & SUGGS,   ATTN: ANDREW S.     19 WEST 44TH
CVA CLAIMANTS                  LLC                         JANET               STREET              SUITE 1500   NEW YORK        NY   10036
                                                                               2410 NORTH
                                                           ATTN: WILLIAM A.    FOREST ROAD,
CVA CLAIMANTS                  C/O HOGANWILLIG, PLLC       LORENZ, JR.         SUITE 301                        AMHERST         NY   14068

                               C/O JEFF ANDERSON &         ATTN: JEFFREY R.    366 JACKSON
CVA CLAIMANTS                  ASSOCIATES, P.A.            ANDERSON            STREET, SUITE 100                ST. PAUL        MN   55101

                               C/O JAMES, VERNON &         ATTN: CRAIG K.      1626 LINCOLN
CVA CLAIMANTS                  WEEKS, P.A.                 VERNON              WAY                              COEUR D'ALENE   ID   83815
                                                           ATTN: RICHARD P.    42 DELAWARE
                               C/O LIPSITZ GREEN SCIME     WEISBECK, JR. AND   AVENUE, SUITE
CVA CLAIMANTS                  CAMBRIA LLP                 WILLIAM P. MOORE    120                              BUFFALO         NY   14202

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                                                                                                ADDRESS
NAME                           ADDRESS LINE 1              ADDRESS LINE 2     ADDRESS LINE 3    LINE 4      CITY           ST   ZIP


                               C/O PARKER WAICHMAN         ATTN: BRETT A.     6 HARBOR PARK                 PORT
CVA CLAIMANTS                  LLP                         ZEKOWSKI           DRIVE                         WASHINGTON     NY   11050

                               C/O LAW OFFICE OF FRANK     ATTN: FRANK M.     286 DELAWARE
CVA CLAIMANTS                  M. BOGULSKI                 BOGULSKI           AVENUE, SUITE B               BUFFALO        NY   14202

                               C/O THE DIETRICH LAW        ATTN: JOSEPH E.    1323 NORTH
CVA CLAIMANTS                  FIRM                        DIETRICH III       FOREST ROAD                   BUFFALO        NY   14221
                                                                              31 HUDSON
                                                           ATTN: JAMES R.     YARDS, 11TH
CVA CLAIMANTS                  C/O MARSH LAW FIRM PLLC     MARSH              FLOOR                         NEW YORK       NY   10001

                               C/O MEYERS BUTH LAW         ATTN: PATRICK J.   21 PRINCETON
CVA CLAIMANTS                  GROUP PLLC                  MALONEY            PLACE             SUITE 105   ORCHARD PARK   NY   14127

                               C/O CHIACCHIA AND           ATTN: DANIEL J.    5113 SOUTH PARK
CVA CLAIMANTS                  FLEMING LLP                 CHIACCHIA          AVENUE                        HAMBURG        NY   14075
                                                           ATTN: JEFFREY R.
                               C/O JEFF ANDERSON &         ANDERSON & J.      55 W 39TH ST RM                                   10018-
CVA CLAIMANTS                  ASSOCIATES, P.A.            MICHAEL RECK       1101                          NEW YORK       NY   3811
                                                                              3075 VETERANS
                               C/O LAURA A. AHEARN,        ATTN: LAURA A.     MEMORIAL
CVA CLAIMANTS                  ESQ., PLLC                  AHEARN             HIGHWAY           SUITE 200   RONKONKOMA     NY   11779
                                                                              69 DELAWARE
                               C/O LAW OFFICES OF J.                          AVENUE, SUITE
CVA CLAIMANTS                  MICHAEL HAYES               ATTN: J. MICHAEL   1111                          BUFFALO        NY   14202

                               C/O JANET, JANET & SUGGS,   ATTN: ANDREW S.    4 RESERVOIR
CVA CLAIMANTS                  LLC                         JANET              CIRCLE            SUITE 200   BALTIMORE      MD   21208

                                                                        5
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                                                                                                    ADDRESS
NAME                           ADDRESS LINE 1             ADDRESS LINE 2        ADDRESS LINE 3      LINE 4       CITY             ST   ZIP
                                                                                45 EXCHANGE
                               C/O THE ABBATOY LAW        ATTN: DAVID M.        BOULEVARD,
CVA CLAIMANTS                  FIRM, PLLC                 ABBATOY               SUITE 925                        ROCHESTER        NY   14614
                                                                                1600 UTICA
                                                          ATTN: PATRICK         AVENUE SOUTH,
CVA CLAIMANTS                  C/O NOAKER LAW FIRM, LLC   NOAKER                9TH FLOOR                        ST. LOUIS PARK   MN   55416
                                                                                77 WATER
                                                          ATTN: STEPHEN A.      STREET, 8TH
CVA CLAIMANTS                  C/O SEEGER WEISS LLP       WEISS                 FLOOR                            NEW YORK         NY   10005

                               C/O LAW OFFICES OF         ATTN: MICHAEL G.      600 3RD AVENUE,
CVA CLAIMANTS                  MICHAEL G. DOWD            DOWD                  15TH FLOOR                       NEW YORK         NY   10016
                                                                                434 WEST 33RD
                                                          ATTN: JEFFREY M.      STREET,
CVA CLAIMANTS                  C/O HERMAN LAW             HERMAN                PENTHOUSE                        NEW YORK         NY   10001

                               C/O PARKER WAICHMAN        ATTN: BRETT A.        59 MAIDEN LANE,
CVA CLAIMANTS                  LLP                        ZEKOWSKI              6TH FLOOR                        NEW YORK         NY   10038

                               C/O PFAU COCHRAN           ATTN: MICHAEL T.      403 COLUMBIA
CVA CLAIMANTS                  VERTETIS AMALA PLLC        PFAU                  STREET, SUITE 500                SEATTLE          WA   98104
                                                                                4535
                                                                                SOUTHWESTERN
CVA CLAIMANTS                  C/O JASON C. LUNA, PLLC    ATTN: JASON C. LUNA   BOULEVARD           SUITE 804B   HAMBURG          NY   14075

                               C/O SLATER SLATER          909 THIRD AVENUE,
CVA CLAIMANTS                  SCHULMAN LLP               28TH FLOOR                                             NEW YORK         NY   10022

ERIE COUNTY REAL
PROPERTY TAX SERVICES          95 FRANKLIN STREET         ROOM 100                                               BUFFALO          NY   14202

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                                                                                               ADDRESS
NAME                           ADDRESS LINE 1          ADDRESS LINE 2      ADDRESS LINE 3      LINE 4    CITY           ST   ZIP


                                                       40 FOUNTAIN PLAZA
FIVE STAR BANK                 ATTN: FRAN HORNUNG      #50                                               BUFFALO        NY   14202


HSBC BANK                      ATTN: JOSEPH BURDEN     95 WASHINGTON ST                                  BUFFALO        NY   14203

INTERNAL REVENUE                                       NIAGARA CENTER,     130 S. ELMWOOD
SERVICE                        INSOLVENCY GROUP I      2ND FLOOR           AVENUE                        BUFFALO        NY   14202

INTERNAL REVENUE                                                                                                             19101-
SERVICE                        PO BOX 7346                                                               PHILADELPHIA   PA   7346


KEYBANK                        ATTN: ALEXANDRA WEHR    250 DELAWARE AVE                                  BUFFALO        NY   14202


LAKE SHORE SAVINGS             31 EAST FOURTH STREET                                                     DUNKIRK        NY   14048

                                                       ATTN: GARRY M.      140 PEARL
M&T BANK                       C/O HODGSON RUSS LLP    GRABER              STREET, SUITE 100             BUFFALO        NY   14202


M&T BANK                       ATTN: CALVIN LEUNG      345 MAIN ST.                                      BUFFALO        NY   14203


M&T BANK                       ONE M&T PLAZA                                                             BUFFALO        NY   14203

MANUFACTURERS AND
TRADERS TRUST COMPANY          1 M&T PLAZA                                                               BUFFALO        NY   14203

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                                                                                               ADDRESS
NAME                           ADDRESS LINE 1            ADDRESS LINE 2     ADDRESS LINE 3     LINE 4    CITY          ST   ZIP


NEW YORK STATE
DEPARTMENT OF LABOR            STATE OFFICE CAMPUS       BUILDING #12       ROOM 256                     ALBANY        NY   12240
NEW YORK STATE
DEPARTMENT OF LABOR –
BUS. SERVICES                  ATTN: DEBORAH ARBUTINA    290 MAIN STREET                                 BUFFALO       NY   14202


NORTHWEST BANK                 100 LIBERTY STREET                                                        WARREN        PA   16365
NYS DEPARTMENT OF
ENVIRONMENTAL                  OFFICE OF GENERAL                                                                            12233-
CONSERVATION                   COUNSEL                   625 BROADWAY                                    ALBANY        NY   0001

NYS DEPARTMENT OF                                                                                                           12205-
TAXATION & FINANCE             BANKRUPTCY UNIT           PO BOX 5300                                     ALBANY        NY   0300

NYS OFFICE OF THE              MAIN PLACE TOWER, SUITE
ATTORNEY GENERAL               300A                      350 MAIN STREET                                 BUFFALO       NY   14202
                               ATTN: SEAN BREEN,
NYS WORKERS’                   PRINCIPAL WORKERS’        OFFICE OF SELF-
COMPENSATION BOARD             COMP. EXAMINER            INSURANCE          328 STATE STREET             SCHENECTADY   NY   12305
                                                         CIVIL RECOVERIES
OFFICE OF THE NEW YORK         ATTN: LOUIS J. TESTA,     BUREAU,
STATE ATTORNEY                 ASSISTANT ATTORNEY        BANKRUPTCY                                                         12224-
GENERAL                        GENERAL                   LITIGATION UNIT    THE CAPITOL                  ALBANY        NY   0341

OFFICE OF THE NYS              LITIGATION BUREAU,                                                                           12224-
ATTORNEY GENERAL               BANKRUPTCY UNIT           THE CAPITOL                                     ALBANY        NY   0341




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NAME                            ADDRESS LINE 1            ADDRESS LINE 2      ADDRESS LINE 3      LINE 4    CITY       ST   ZIP


OFFICE OF THE UNITED                                                          300 PEARL
STATES TRUSTEE                  ATTN: JOSEPH W. ALLEN     OLYMPIC TOWERS      STREET, SUITE 401             BUFFALO    NY   14202


SWEET HOME FCU                  1960 SWEET HOME ROAD                                                        AMHERST    NY   14228
                                ATTN: CHARLES
                                MENDOLERA, EXECUTIVE
THE DIOCESE OF BUFFALO,         DIRECTOR OF FINANCIAL
N.Y.                            ADMINISTRATION            795 MAIN STREET                                   BUFFALO    NY   14203

THE NATIONAL CATHOLIC                                     ATTN: JENNIFER A.   1300 LIBERTY
RISK RETENTION GROUP            C/O HURWITZ & FINE, PC    EHMAN               BUILDING                      BUFFALO    NY   14202

                                WESTERN DISTRICT OF NEW   138 DELAWARE
U.S. ATTORNEY’S OFFICE          YORK                      AVENUE                                            BUFFALO    NY   14202

U.S. DEPARTMENT OF                                        130 SOUTH ELMWOOD
LABOR                           FEDERAL BUILDING          AVENUE                                            BUFFALO    NY   14202
US ENVIRONMENTAL
PROTECTION AGENCY,              OFFICE OF REGIONAL        ATTN: DOUGLAS       290 BROADWAY,                                 10007-
REGION 2                        COUNSEL                   FISCHER             17TH FLOOR                    NEW YORK   NY   1866




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